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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                                       
                               December 21, 2016
                                       
                                       

In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 21[st] day of December, 2016.

10-14-00158-CV	KAREN WEAVER AND STEPHEN WEAVER v. ERIC HRBACEK AND BRIDGET HRBACEK, INDIVIDUALLY AND AS REPRESENTATIVES AND SOLE HEIRS OF THE ESTATE OF LOUISE HRBACEK, DECEASED - ON APPEAL FROM THE COUNTY COURT AT LAW OF ELLIS COUNTY - TRIAL COURT NO. 11-C-3336 - SET ASIDE AND REMANDED - Memorandum Opinion by Justice Davis:

"This cause came on to be heard on the agreed motion to reverse and remand and the agreement of the parties, and the same being considered, because it is the opinion of the Court said agreement should be effectuated; it is therefore ordered, adjudged and decreed that the motion be and hereby is granted and the judgment of the court below be, and hereby is, set aside without regard to the merits and this cause is remanded to the County Court at Law of Ellis County, Texas, for entry of a judgment in accordance with the parties' settlement agreement.  It is further ordered that costs are taxed against the party incurring same in accordance with the parties' agreement and that this decision be certi`fied below for observance."
